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Exhibit —
Case 3:20-cv-00719-DPJ-FKB Document 1-4 Filed 11/09/20 Page 2 of 2.
Eval uation for Water Adjustment
_ Water. Sewer Business Administration ss

City of raékson, W wv S

 

! understand that there is a possibility that an adjustment may or may: aot be issued once the evaluation process is
completed. if the water consumption is determined to be In fine with fhe previous average usage then no adjustment:
will be issued, however, /t is the policy of the Water/Sewer Business Administration to adjust a maximum of two(2) bills .
annually (Residential-or Commercial } in consideration for loss water taat resulted from a leak. The adjustments equal
50%¢ of the loss: water and sewer r charges appearing onthe two (2)! hi ghest bills aifected.

4 Guidelines for the Evaluation se Aad ie

 

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or

Af repelled bya Pluriber

eA copy.of the Plumber's statement (receipt) with the Phimber’s name & phone vaaeabiar
. © The statement must include the customer’, s name and tke service location wHere the repairs were made

_....,"_Adetailed description of what was repaired. Specify whether the leak was on the Inside-or outside ofthe >
a house/building; example; {broken:pipe under the: ‘Hotise‘comniade-jeak, etc.)..- ce cg mde abies

« * The date the yapalts were completed. ; - 22 -

we 4 .

(if repaired by Home remy

»

* Acopy of the receipts for Part(s) that were purchased anda written scien ort ifthe Home Owner made ©

EY

_ the repalr(s)

« The written statement must Include the customer's name, the service address, a telephone number, the |
_ date the repair(s}) was completed and a deta lled description of what was repaired | .

® ‘Specify whether the leak was on the inside orthe outside of the house/bullding, example; (broken pipe”

under the house/commode leak, etc.)
here is q required minim ae payin to ward your account balance due at the time of this evaluation process.
he evaluation process may take from six (6) to eight (8) weeks ati ecmaite the plumber’s/home owner's staterkerity:
Is- essential that there are two (2) meter readings ta ken ten (10) days apart to confirm water leak has been corrected.

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